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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA


Date: December 30, 2020


Institute for Justice,                 )
                                       )
                           Plaintiff,  )
                                       )
v.                                     )        Case No. CIV-19-858-D
                                       )
Charlie Laster, et al,                 )
                                       )
                           Defendants. )

ENTER ORDER:

       Unless the Court directs otherwise, the case Scheduling Order will be issued based
on the parties’ Joint Status Report. Should the Court decide that a scheduling conference
is necessary, the conference will be conducted telephonically, pursuant to the Court’s
Chambers Rules located on the Court’s website.


ENTERED AT THE DIRECTION OF THE HONORABLE TIMOTHY D. DEGIUSTI.

                                         CARMELITA REEDER SHINN, CLERK,


                                         By:    /s/ Mike Bailey
                                                       Deputy Clerk
